Case 3:06-cr-30167-DRH      Document 216 Filed 10/24/07      Page 1 of 1   Page ID
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,


Plaintiff,

v.

ARCADIO ABURTO,

Defendant.                                         No. 06-CR-300167-DRH

                                     ORDER


HERNDON, Chief Judge:

             Pending before the Court is Aburto’s motion to direct the United States

Probation Office to conduct a pre-plea presentence investigation report (Doc. 215).

The Government does not object to the motion. Accordingly, the Court GRANTS the

motion. The Court ORDERS the United States Probation Office to prepare a pre-

plea presentence investigation report as to Aburto in this matter.

             IT IS SO ORDERED.

             Signed this 24th day of October, 2007.

                                                   /s/    DavidRHerndon
                                                   Chief Judge
                                                   United States District Judge
